  Case: 1:20-cv-00128-TSB-KLL Doc #: 5 Filed: 10/02/20 Page: 1 of 2 PAGEID #: 57




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 DON NELL HAWKINS,                            :      Case No. 1:20-cv-128
                                              :
        Plaintiff,                            :      Judge Timothy S. Black
                                              :
 vs.                                          :      Magistrate Judge Karen L. Litkovitz
                                              :
 AUSA ROBERT J. PATTON,                       :
                                              :
        Defendant.                            :

                         DECISION AND ENTRY
            ADOPTING THE REPORT AND RECOMMENDATION OF
            THE UNITED STATES MAGISTRATE JUDGE (Doc. 4) AND
                 TERMINATING THIS CASE IN THIS COURT

       This case is before the Court pursuant to the Order of General Reference to United

States Magistrate Judge Karen L. Litkovitz. Pursuant to such reference, the Magistrate

Judge reviewed the pleadings and, on April 1, 2020, submitted a Report and

Recommendation, recommending that this action be dismissed without prejudice and the

complaint be refiled in the United States Court of Appeals for the Sixth Circuit. (Doc. 4).

No objections were filed.

       As required by 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b), the Court has

reviewed the comprehensive findings of the Magistrate Judge and considered de novo all

of the filings in this matter. Upon consideration of the foregoing, the Court finds that the

Report and Recommendation should be and is hereby adopted in its entirety.

       Accordingly:

       1.     The Report and Recommendation (Doc. 4) is ADOPTED.
 Case: 1:20-cv-00128-TSB-KLL Doc #: 5 Filed: 10/02/20 Page: 2 of 2 PAGEID #: 58




     2.    This action is hereby DISMISSED without prejudice and the complaint
           shall be refiled in the United States Court of Appeals for the Sixth Circuit.

     3.    The Clerk shall enter judgment accordingly, whereupon this action is
           TERMINATED upon the docket of this Court.

     IT IS SO ORDERED.

Date: 10/2/2020                                            s/Timothy S. Black
                                                         Timothy S. Black
                                                         United States District Judge




                                          2
